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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )             MAG. NO. 20-01208 WRP
                               )
               Plaintiff,      )             GOVERNMENT’S RESPONSE TO
                               )             MOTION TO MODIFY
          vs.                  )             CONDITION OF RELEASE;
                               )             CERTIFICATE OF SERVICE
MARTIN KAO,                    )
                               )
               Defendant.      )
______________________________ )

                   GOVERNMENT’S RESPONSE TO
              MOTION TO MODIFY CONDITION OF RELEASE

      The United States hereby responds to defendant’s Motion to Modify

Condition of Release (ECF No. 21). Based on the facts set forth in the Motion,

the government does not oppose the Motion.
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     DATED: October 27, 2020, at Honolulu, Hawaii.

                                        Respectfully submitted,

                                        KENJI M. PRICE
                                        United States Attorney
                                        District of Hawaii


                                        By /s/ Craig S. Nolan
                                          CRAIG S. NOLAN
                                          Assistant U.S. Attorney




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the attached was duly served

upon the following person as set forth below:



Served Electronically by CM/ECF:

DAVID M. CHAIKEN                             david.chaiken@troutman.com
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      DATED:       October 27, 2020, at Honolulu, Hawaii.


                                             /s/ Craig S. Nolan
                                             CRAIG S. NOLAN
                                             Assistant U.S. Attorney
